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MARION GAFFNEY, Wrongful death

beneficiary and next of kin of

JAY MICHAEL GAFFNEY, deceased,
Plaintiff,

VS. No. 05-1183-T/An

l\/IERCK & CO., INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiff Marion Gaffney, the Wrongful death beneficiary and next of kin of the
decedent, J ay Michael Gaffney, filed this action in the Circuit Court of Madison County,
Tennessee, on May 26, 2005, against Merck and Cornpany, Inc., maker of the prescription
drug known as Vioxx. Plaintiff also named as defendants certain local Merck sales
representatives and pharmacists Merck removed the action to this Court on July l, 2005,
on the basis of diversity of citizenship, contending that the non-diverse defendants Were
fraudulently joined in an attempt to defeat diversity jurisdiction

Also on July l, 2005, l\/lerck filed a motion to stay all further proceedings pending
a decision by the J udicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this

case should be transferred to the United States District Court for the Eastern District of

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with Fiule 58 and,-'or_?g (a) FRCP on

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Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product
Liability Litigation. Plaintif`f filed a motion to remand the action to state court on July 15_.
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. ln that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedingsl We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Wel] as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.Zd

7 (2d Cir. 1990); 111 re Prudentia! [nsurance Company cf Americcz Sales

Practices Litigatl'on, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
'l`ransfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs motion to remandl S_ee_ JPML R. l.5. The decision Whether
to grant a stay is Within the inherent power of the Court and is discretionary w Landis v.
North Am. Co., 299 U,S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. l:O4CV2044-JDT~TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Mcrck & Co.` lnc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);
l\/IcCrerev v. Merck & Co.` Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co.. Inc., No. 05-012] (S.D. TeX. Feb. 23, 2005).

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There are several other Vioxx cases already pending in this district, and possiny
thousands more in other districts. fn many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or Will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or Will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding vvill
promotejudicial economy and conserve judicial resources ln addition, the Court finds that
any prejudice to the plaintiff resulting from a stay Would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

lT IS SO ORDERED.

MA.M

JA D. TODD
UN ED STATES DISTRICT JUDGE

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